                              Case 1:16-cr-00058-SPW Document 58 Filed 02/23/17 Page 1 of 7

 AO 24:iB (Rev. 11:16)         Judgment in a Criminal Case
                               Sheet I



                                                 UNITED STATES DISTRICT COURT
                                                                        District of Montana
                                                                                  )
                    UNITED STATES OF AMERICA                                     )       JUDGMENT IN A CRIMINAL CASE
                                          v.                                     )
                                                                                 )
                               Krista Lynn Martinez                                      Case Number: CR 16-58-BLG-SPW-02
                                                                                 )
                                                                                 )      USM Number: 12006-046
                                                                                 )
                                                                                 )        David Merchant (appointed)
                                                                                        Defendant's Attorney
                                                                                 )
THE DEFE:'llDANT:
 ~pleaded guilty to count(s)                   Superceding Indictment

 D pleaded nolo contendere to count(s)
   -...vluch 1,vas aL:cepted by the court.

D \Vrls found guilty on count(s)
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                          Nature of Offense                                                       Offense Ended
-.. . . . . . . . . . . . .              ~----..,--------                            ....-"""........_____...,..,...,...,..,.!"'_____
... 21. U .S.C. §§ 846.and ·- ....•... Conspiracy. to .. Possess ..with.lntent.to-Distribute .•...- ...,,.
                                                                                                                                                                   tr,•

                                                                                                                ...A/~ 4/20-16-.•,........................SI.,.... -~--

  841(b)(1)(C)                             Meth amphetamine



           The defendant is sentenced as provided in pages 2 through            _ _7_ _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)

liZI Count(s)           Original Indictment
                                                      ----
                                                              liZI is    0 arc dismissed on the tnotion of the United States.
           It is rirdercd that the defcndant _inust notify the lJ nitcd States attorney for this district within 30 days of any change of name, residence,
or 1nail 1ng address until all fines, rcstitulion, costs, and special assessn1e11ts in1posed by this judg111cnt are fully paid. If ordered to pay restitution,
the defendant 111ust notify the court and lJnited States attorney of nlatcrial changes in econom1c circun1stances.

                                                                                2/23/2017
                                                                               Date of mposition of Judgment




                          FILED                                                 Susan P. Watters, District Judge
                              FEB 2 3 2017                                     Name and Title of Judge


                        Clerk, U.S. District Court
                           District Of Montana                                  2/23/2017
                                  Billings                                     Date
                         Case 1:16-cr-00058-SPW Document 58 Filed 02/23/17 Page 2 of 7
AO 245B (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                     Judgment- Page -~2~- of   7
 DEFENDANT: Krista Lynn Martinez
 CASE NUMBER: CR 16-58-BLG-SPW-02

                                                           IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
  37 months to run concurrently with the revocation sentenced imposed on 2/23/2017 in CR 12-80-BLG-SPW.




     ii'! The court makes the following recommendations to the Bureau of Prisons:
  The Defendant be placed at Dublin FCI because it is close to family and she has previously been there. The Defendant
  participate in RDAP.


     ~     The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
           D at                                  D a.m.       D p.m.       on

           D   as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                       to

a ---------- ------                                  with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL



                                                                         By - - - - - - - - - - - - - - - - - - - - - -
                                                                                               DEPUTY UNITED STATES MARSHAL
                          Case 1:16-cr-00058-SPW Document 58 Filed 02/23/17 Page 3 of 7

:\0 2'158 (Rev. I 1/16)   .ludgmi,;nl in a Criminal Caso.:-
                           Shi:el J - Supervised Release
                                                                                                        Judgment- Page          of        7
DEFENDANT: Krista Lynn Martinez
CASE NUMBER: CR 16-58-BLG-SPW-02
                                                               SUPERVISED RELEASE
Upon release fro111 in1prisonn1cnt, you vvill be on supervised release for a tern1 of:    3 years



                                                              MANDATORY CONDITIONS
      Yoll 1nust not commit 11nother federal, state or local crime.
2.    You n1ust not un!avvfully possess a controlled substance.
3     You n1ust refrain from any un]a\v:ful use of a controlled substance. You n1ust submit to one drug test within 15 days of release from
      imprisonn1ent and at least two periodic drug tests thereafter, as determined by the court.
             D The above drug testing condition is suspended, based on the court's detennination that you
                 pose a low risk offu(ure substance abuse. (check lfupplicable)
4      ~ You n1ust cooperate in the collection of DNA as directed by the probation officer. (dwclr (f"applicable)
5       D You 111ust con1ply with the require1nents of the Sex Offender Registration and Notification Act (42 U .S.C. § 1690 l, et seq.) as
          direcll'd by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, v.. ork. arc a student, or were convicted ofa qualifying offense. (check!fapplicahle)
                      1


6.      0 You n1ust participate Jn an approved program for domestic violence. (check if applicable)


You n1ust con1ply \vith the stundurd conditions that have been adopted by this court as well as vvith any other conditions on the attached
pnge
                    Case 1:16-cr-00058-SPW Document 58 Filed 02/23/17 Page 4 of 7

AO 2458 (Rev. 11/16)    Judgment in a Criminal Case
                        Sheet 3,.\ - Supervised K.ck:asc
                                                                                                     Judgincnt-Pagc                  of
DEFENDANT: Krista Lynn Martinez
CASE NUMBER: CR 16-58-BLG-SPW-02

                                          STANDARD CONDITIONS OF SUPERVISION
i\s p<irt of your supervised relense. you 111ust con1ply \vith the IOJlowing stundard conditions of supervision. These conditions are imposed
because th..:y establish the basic expectations fOr your behavior while on supervision and identify the niiniinun1 tools needed by probation
officers to keep informed. report to the court about, and bring about improve1nents in your conduct and condition.

I.     You n1ust report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       n::lcusc frotn i1nprison111cnl, unlcss the probation officer instiucts you to report to a different probation oJlice or within a different tin1e
       fratnc.
2.     Arter in1t1ally reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You 1nust not kno\vingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You n1ust answer truthfully the questions asked by your probation officer.
5.     You n1ust live at a place approved by the probation officer. If you plan to change where you live or anything ubout your living
       arrangc111cnts (such as the people you live \vith), you n1ust notify the probation offlccr at least l 0 days before the chnnge. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probution officer to visit you at any tin1c at your home or elsewhere, and you must permit the probation officer to
       Lakt.: any 1te1ns prohibited by the conditions of your supervision thal he or she observes in plain view.
7      You 111us1 work ful! time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-ti1nc cn1ploy1nent you 1nust try to find full-time e1nployn1ent, unless the probation officer excuses
       you fron1 doing so. If you plan to change v-.:hen: you work or anything about your work (such as your position or your job
       rcspllnsibilitics). you 111usl notiJY Lht: probation officer at least I 0 days before the change. If notit)'ing the probation officer at least I 0
       days in advance is not possible due to unanticipated circumstances, you n1ust notify the probation officer within 72 hours of
       becoming av.,are ofa change or expected change.
8.     You must not communicate or interact with someone you kno\V is engaged in criminal uctivity. Jf you know someone has been
       convicted of a felony, you 111ust not knowingly co1n1nunicate or interact with that person \Vi th out first getting the pennission of the
       probation officer.
9.     If you are arrested or questioned by a law· enforce1nent officer, you must notify the probation officer within 72 hours.
l 0.   You n1ust not o\vn, possess, or have access to a fireann, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or vvas n1o<lifi.t:<l for, tbe specific purpose of causing bodily injury or death to anothi;r person such as nunchakus or tasers).
l l.   '{ou n1ust not act or n1akc any agrcen1ent with u law enforcen1ent agency to act as a confidential hun1an source or informant without
       firs! getting the permission of the cou11.
12.    If the probation officer detennines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you n1ust co1nply with that instruction. The probation officer may contact the
       person an<l confinn that you have notified the person about the risk.
13.    You must follow· the instn1ctions of the probation otlicer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed n1e on the conditions specified by the court and has provided 1ne with a written copy of this
judg111cnt containing these conditions. For further infOrn1ation regarding these conditions, see Overvieiv o_f'Probation and Supervised
Release Condition. 1;, available at: W\V\V.uscourts.!J.,ov.


Defendant's Signature                                                                                           Date
                                                                             ------------------------

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AU ]tl5llfH.<o"v l lil6)    Judgment in <i Cnm11rnl C<i~c
                            Shcc1 30 -- Supervised Release
                                                                                           Judgment-Page         of
DEFENDANT: Krista Lynn Martinez
CASE N\J'\1HER: CR 16-58-BLG-SPW-02


                                                SPECIAL CONDITIONS OF SUPERVISION

 1. The defendant shall participate in a program for mental health treatment as deemed necessary by the United States
 Probation Officer, until such time as the defendant is released from the program by the probation officer. The defendant is
 to pay part or all of the cost of this treatment, as directed by the United States Probation Office_

 2 The defendant shall participate in and complete a program of substance abuse treatment as approved by the United
 States Probation Office, until the defendant is released from the program by the probation officer. The defendant is to pay
 part or all of the cost of this treatment, as directed by the United States Probation Office_

 3. The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol is the
 primary item of sale.

 4. The defendant shall participate in substance abuse testing, to include not more than 365 urinalysis tests, not more than
 365 breathalyzer tests, and not more than 36 sweat patch applications annually during the period of supervision. The
 defendant shall pay all or part of the costs of testing as directed by the United States Probation Office.

 5. The defendant shall not ingest or inhale any toxic substances such as, but not limited to, synthetic marijuana and/or
 synthetic stimulants that are not manufactured for human consumption, for the purpose of altering her mental or physical
 state.

 6. The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a medical
 marijuana card or prescription.

 7 The defendant shall submit her person, residence, place of employment, vehicles, and papers, to a search, with or
 without a warrant by any probation officer based on reasonable suspicion of contraband or evidence in violation of a
 condition of release. Failure to submit to search may be grounds for revocation. The defendant shall warn any other
 occupants that the premises may be subject to searches pursuant to this condition_ The defendant shall allow seizure of
 suspected contraband for further examination.
                           Case 1:16-cr-00058-SPW Document 58 Filed 02/23/17 Page 6 of 7
AO 2458 (R..:v I lil6)        Judgm..:nt in a Crimimil Case
                               Sb..:cl 5 -- Cnmi11al J\.1oncl<lry Penalties
                                                                                                                                                 Judgment      Page          6           of                 7
 lJUJ.:NlJAl\T: Krista Lynn Martinez
 CASE NCMBER: CR 16-58-BLG-SPW-02
                                                               CRIMINAL MONETARY PENALTIES
       The defendant n1ust pay the total crin1inal n1onetary penalties under the schedule of payments on Sheet 6.


                                Assessment                           JVT A Assessment*                                                                     Restitution
 TOTALS                    $ 100.00                              $                                             $                                       $


 D     The detern1ination of restitution is deferred until                                           . An A1nended Judgn1ent in a Crin1inul Case (AO 245C) will be entered
       after such detennination.

 D     The dcfcn<l<1nt n1ust nrnke restitution (including con1111unity restitution) to the following payees in the an1ount listed below.

       If the defendant n1akes a partial pay111cnt, each payee shall receive an approxi1natcly proportioned payn1cnt, unless specified otherwise in
       the priority order or perccnta~e payn1cnt co\un1n bclo\v. 1-Iowever, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims 1nust be paid
        bc!Urc the United States is paid.

 Name of Payee                                                Total Loss**                                         Restitution Ordered                                 Priority or Percentage




=~=~::::::::.::::=.::::.:.::::::.:.:.:.:~:::=.::::~:::::~:.::.:~:.~::::::-::::.•::::
                                                                                  ....:::.:••:~::::::::::::::::::::::::::::::::::::::::::::::::::::::::,.~:.   ::::::::::::::::::::::::::::::::::::::::::::::::::::::::::




                                                                                                                                   ";.--~.




TOTALS                                            $                                                        $


D        Ri..:stituliun ainount ordcn:d pursuant to pica agreen1ent                            S

D       The defendant 111ust pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fltteenth day a Iler the date of the judgn1ent, pursuant to 18 U.S.C. § 3612(£). All of the payn1ent options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

0       The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

        0      the interest requirement is waived for the                           D       fine     D      restitution.

        D the inlcri..:st r~quircn1ent for lhl.'                     0      fine        C     r1.1stitution is n10Jil1ed as follows:

'"Justice for Victi1ns of Trafficking Act of2015, Pub. L. No. 114-22.
"'*Findings for the total an1ount of losses _are required under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses conunittcd on or
aftl'r Scpten1bl.'r 13, 1994, but before April 23, 1996.
                       Case 1:16-cr-00058-SPW Document 58 Filed 02/23/17 Page 7 of 7
AO 245H (Rev. 11/16)   Judgment in a Criminal Ca~c
                       Sheet 6 - Schedule of Payments

                                                                                                                  Judgment-- Page      _?       of        7
 DEFENDANT: Krista Lynn Martinez
 CASE NUMBER: CR 16-58-BLG-SPW-02

                                                           SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payn1ent of the total criminal monetary penalties is due as follows:

 A     "'1   Lu111p sum payinent of$      100.00                   due immediately, balance due

             D     not later than                                       , or
             D     in accordance \vi th D     C,       D    D,     D     E, or     ~ F below; or

 Ll    D     Payincnt to begin in1n1cdiately (1nay be con1bincd with             DC,         0 D,or        D F below); or

 C    0      Pay1nent in equal                         (e.g .. weekly. monthly. quarrerly) install1nents of $                          over a period of
                           re.g, months vr years), to con1n1ence                        (e.g., 30 or 60 day.!.) after the date of this judg1nent; or

 D     0     Payn1ent in equal                         (e.g. weekly, monthly, quarter{>) installments of $             ________ over a period of
                           (e.g., monrhs or year.\), to con1mence                       (e.g., 30 or 60 day.!.) after release fron1 in1prison1nent to a
             tcm1 of supervision: or

 L    D      Pay1ncnt during the tenn of supervise<l release \Viii co1n1nence within             (e.g., 30 or 60 day.1) after release fron1
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 l·   Ill    Special instructions regarding the payn1ent of criminal 111onetary penalties:

             Criminal monetary penalty payments are due during imprisonment at the rate of not less than $25.00 per quarter,
             and payment shall be through the Bureau of Prisons' Inmate Financial Responsibility Program. Criminal monetary
             payments shall be made to the Clerk, United States District Court, James F. Battin U.S. Courthouse, 2601 2nd
             Ave North, Ste 1200, Billings, MT 59101.


 Unless the court has expressly ordered othcn1., isc, if this judg111ent in1poses imprisonn1cnt, pay1nent of cri111inal monetary penalties is due during
                                                   1


 the period of 1n1prisonn1cnt. All crin1inal n1onetnry penalties, except those pay1nents made through the Federal Bureau of Prisons' Tnn1ate
 Financial Responsibility Prognun, are n1adc to the clerk of the court.

The dc!Cndant shall rt:ceivc credit for all payn1cnts previously n1ade toward any cri111inal inonetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Na1nes and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriale.




D     The defendant shall pay the cost of prosec11tion.

 D    Tbi.: dl![l:n<lant shall pay the following court cust(s):

D     The defendant shalt forfeit the defendant's interest in the following property to the United States:


Payn1ents shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
1ntere.st. l6) con1n1u111ty restitution, (7) JVI"A assess111ent, (8) penalties, and (9) costs, 1nclud1ng cost of prosecution and court costs.
